                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )      Criminal No. 2:11-00002
                                                      )      Judge Trauger
[22] MARCIA BERNICE PRESS                             )

                                            ORDER

       A hearing was held on March 26, 2013 on the Superseding Petition to Revoke

Supervision. (Docket No. 1438) The defendant pled guilty to all five violations set out in the

Superseding Petition, and the court finds those violations ESTABLISHED. The parties

announced an agreed disposition that was acceptable to the court.

       It is hereby ORDERED that the defendant’s supervised release is REVOKED, and she

is sentenced to serve thirty (30) days in the custody of the Bureau of Prisons, to be followed by

eighteen (18 months) of supervised release. As an additional term of supervised release,

immediately upon being released from custody, she is to report to the Hope Center In-Patient

Treatment Program offered through the Rescue Mission, where she will participate for a

minimum of 7 months and a maximum of 18 months, to be jointly determined by the treatment

program and the Probation Officer. It is further ORDERED that the defendant shall self-report

to the United States Marshal’s Office by 2:00 p.m. on March 27, 2013 to begin service of her

custody sentence. If the defendant fails to timely report for her custody sentence or if she is

terminated by the Hope Center Program prior to completing it, she will be sentenced, for this

additional violation, to the maximum term of custody recommended under the appropriate

United States Sentencing Guideline, a sanction to which she has agreed pursuant to this

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agreement.

      It is so ORDERED.

      ENTER this 26th day of March 2013.



                                               ________________________________
                                                     ALETA A. TRAUGER
                                                       U.S. District Judge




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